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                         UNITED STATES BANKRUPTCY COURT

                              SOUTHERN DISTRICT OF IOWA

In Re:                                 )              Case No. 21-00571
                                       )
CYCLE FORCE GROUP, LLC                 )              Chapter 11
                                       )
      Debtor and Debtor in Possession. )              Hon.
                                       )
         th
2105 SE 5 St.                          )              FIRST DAY MOTION
Ames, IA 50010                         )              DEBTOR’S EMERGENCY MOTION
                                       )              FOR ORDER AUTHORIZING
EIN: XX-XXXXXXX                        )              DEBTOR TO HONOR PRE-PETITION
                                       )              OBLIGATIONS TO EMPLOYEES AND
                                       )              BRIEF IN SUPPORT
                                       )
_____________________________________ )               No Hearing Set


         Cycle Force Group, L.L.C. (the “Debtor” or “CFG”), Debtor and Debtor-in-Possession

herein, by and through its Proposed General Reorganization Counsel, Jeffrey D. Goetz, Esq. and

Krystal R. Mikkilineni, Esq. of the law firm of Bradshaw, Fowler, Proctor and Fairgrave, P.C.,

and pursuant to the provisions of Bankruptcy Code sections 105(a), 364(b), 365, 507(a)(4), and

1107 and Bankruptcy Rule 4001, respectfully moves for entry of an Order authorizing the Debtor

(i) to pay pre-petition accrued employee wages, salaries, and related taxes; (ii) to honor certain

employee benefit obligations; and (iii) to honor all other terms and conditions of its employees’

employment obligations (the “Motion”). In support of this Motion, Debtor shows the Court as

follows:

                  I.     JURISDICTION AND STATUTORY PREDICATE

         1.     This Court has jurisdiction of this Motion pursuant to 28 U.S.C. § 157 and §

1334. Venue of this case and Motion in this district is proper pursuant to 28 U.S.C. § 1408 and §

1409. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).




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         2.    The statutory predicates for the relief sought herein are 11 U.S.C. §§ 105(a), and

507. 1

                                    II.     BACKGROUND

         3.    On April 22, 2021 (the “Petition Date”), the Debtor filed its voluntary petition for

relief under chapter 11 of the Bankruptcy Code.

         4.    The Debtor continues in possession of its property and the management of its

business as a Debtor-in-Possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         5.    Counsel for the Debtor has consulted with counsel for Great Western Bank and is

authorized to state that Great Western Bank does not object to the relief requested.

         6.    Immediately prior to the Petition Date, CFG employed approximately 32 full-time

individuals and one part-time individual, including corporate and administrative personnel. CFG

also employs two offsite employees in sales who are paid on commission and receive 1099’s.

         A.    Employee Pre-Petition Payroll, Retirement, Vacation, Holiday, and Sick
               Leave Policies.

         7.    Payroll. CFG’s salaried employees are paid in real time bi-weekly. CFG’s hourly

employees are paid bi-weekly, one week in arrears. CFG has paid its employees for the last pay

period ending on April 16, 2021. There will be accrued but unpaid wages owing for hourly

employees from April 12, 2021 through April 23, 2021, in an amount not to exceed $14,000.00

for hourly, and an amount not to exceed $33,0000 for salaried employees to be paid on April 30,

2021.

         8.    Retirement. CFG contributes an amount for its retirement share each pay period.

As such, there will be accrued but unpaid retirement shares due on April 30, 2021 in an amount


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 All references to sections or codes, unless otherwise noted, are made to the United States
Bankruptcy Code, 11 U.S.C. §§ 101 et seq. and referred to herein as the “Bankruptcy Code”.



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not to exceed $2,000.00.

         9.    Vacation, Holiday, and Sick Leave. CFG has existing contractual compensation

for paid-time-off (“PTO”) which includes within it vacation and sick leave, in which employees

have accrued rights to time away from work under those policies. CFG pays its employees for

accrued PTO (vacation days, holidays, and sick leave days) upon the employee’s termination of

employment. Retained employees will maintain rights to have time away from work for such

purposes that accrued prior to the Petition Date. CFG additionally pays its employees holiday

pay. CFG seeks permission to honor those policies.

         B.    Employee Pre-Petition Insurance.

         10.   CFG provides health insurance for its employees on a cost-sharing basis, if the

employee wishes to enroll in the insurance plans available for a family plan or an individual

plan. Dental insurance is paid by the employee.

         C.    Employee Withholding Tax Obligations.

         11.   In connection with its business operations, the Debtor withholds certain federal

and state income taxes from the wages and the salaries of its employees and also deducts Federal

Insurance Contribution Act taxes from the wages and salaries of employees, as well as being

required to pay certain taxes and other amounts with respect to its employees (the “Employee

Taxes”).

         12.   Many of such amounts are “trust funds” that the Debtor must hold for the benefit

of the relevant federal and state taxing authorities. Failure to report and to remit the Employee

Taxes could subject the Debtor to substantial interest and penalties, as well as to criminal

charges. In addition, the Debtor’s officers may be personally liable for such amounts in some

cases.




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          13.   Failure to pay the Employee Taxes could cause the taxing authorities to take

aggressive actions to collect the “trust fund” taxes, including attempts to trace the funds and

perhaps cause extensive audits that interfere with the Debtor's business. Also, the threat of

liability of officers for unpaid “trust fund” taxes would unnecessarily distract officers whose

undivided attention is required for the successful outcome of this case. Finally, the failure to pay

the Employee Taxes would cause great concern among the work force and disrupt the Debtor’s

relationship with those employees at a time when it is critical that their focus be upon

maintaining the Debtor’s community confidence.

          14.   Therefore, the Debtor requests authority to pay the accrued but unpaid pre-

petition Employee Taxes in connection with the Debtor’s employee obligations to the extent it is

determined that any of such Employee Taxes accrued prior to the Petition Date are in fact

unpaid.

          15.   In addition, from time to time, certain deductions from the employee obligations

may be made that principally represent employee earnings that employees or, in the case of

garnishments, judicial authorities, have designated for deduction from employee paychecks and

paid accordingly (the “Deductions”). The failure to pay these benefits could result in hardship to

certain employees. The Debtor may receive inquiries from garnishors regarding the Debtor’s

failure to submit, among other things, child support and alimony payments, which are not the

Debtor’s property, but rather have been withheld from employee paychecks.

                                  III.    RELIEF REQUESTED

          16.   The Debtor requests by this Motion, entry of an order authorizing the Debtor, in

accordance with its stated policies, in the ordinary course of its business, and in its sole

discretion, to (i) pay or honor certain pre-petition employee wages, salaries, and contractual




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compensation including PTO and vacation pay; (ii) make payments on amounts owed under

accrued and unpaid medical plans; (iii) pay all costs and expenses incident to the foregoing

payments and contributions (including without limitation withholding taxes and processing

costs); and (iv) other certain related relief as requested in this Motion. In no event does the relief

requested herein contemplate the assumption of, or authority to pay, any obligations in respect of

contribution and indemnification claims.

       17.     Pre-petition, CFG has paid all obligations to its employees on a timely and current

basis through direct-deposit of funds into the employees’ bank accounts. Therefore, there are no

substantial arrearages accrued and the only outstanding amounts owing to or for the benefit of

employees are those accruing due to the timing of payments in the ordinary course of business.

The Debtor may not pay these employees or reimburse their expenses without prior Court

approval.

       18.     Payment of these amounts is crucial for maintaining employee confidence and

morale and will encourage employees to remain in the employ of the Debtor at this critical time.

To the extent the pre-petition Employee Claims have been paid with a check that is outstanding

and has not yet cleared CFG’s payroll account maintained at Great Western Bank or any other

CFG account, CFG requests that Great Western Bank or any other bank at which an applicable

account is maintained be authorized and directed to clear all such pre-petition checks and to rely

on CFG’s directions as to the payment of such pre-petition checks. This request would alleviate

the need for CFG to reissue payroll and medical benefits checks and would prevent disruption in

CFG’s relationship with its employees.

       19.     By this Motion, CFG also seeks authority to honor all other terms and conditions

of the employment of its employees as if this chapter 11 case had not been initiated, pending




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further orders of this Court.

       20.     CFG is highly dependent on its trained and experienced workforce and the

retention of its current workforce is one of CFG’s highest priorities during the continuation of its

reorganization. Therefore, CFG’s ability to maximize the value of its assets for the benefit of the

creditors and other parties-in-interest will be adversely affected if the Debtor is unable to retain

the support and loyalty of its employees.

       21.     If CFG is unable to assure its employees that they will be paid promptly, or if the

employees are not immediately assured of uninterrupted, critical benefit payments to which they

are entitled, CFG’s operations could suffer immediate and irreparable harm due to, at the very

least, an undermining of employee morale. Failure to honor any other terms and conditions of

their employment would only exacerbate this problem. The relief requested is thus necessary to

preserve CFG’s operations during its reorganization.

                          IV.      BASIS FOR RELIEF REQUESTED

Payment of Pre-Petition Claims is Authorized by the “Necessity of Payment” Doctrine and
                                  the Bankruptcy Code

       22.     As a result of this chapter 11 filing, Debtor is prohibited from paying claims that

arose prior to the Petition Date without receiving specific authorization. See 11 U.S.C. §

549(a)(2)(B) (2021). Each employee of CFG is, however, entitled to a priority claim for

compensation earned in the 180-day period preceding the Petition Date in an amount up to

$12,475. 11 U.S.C. § 507(a)(4) (2021). Claims on account of employee benefits obligations are

also entitled to priority. See 11 U.S.C. § 507(a)(5) (2021). Claims for payroll and related taxes

are also entitled to priority status. 11 U.S.C. § 507(a)(8) (2021).

       23.     Because all such administrative expense or priority claims are entitled to be paid

in full, accelerated payment of such claims at this time is appropriate, and this Court is



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authorized to grant such relief. See 11 U.S.C. § 105 (2021). In addition, in order to retain

quality, experienced employees, to maintain their morale while this chapter 11 case is pending

and to preserve CFG’s operations during this critical time period, CFG should be granted the

authority to pay its employees’ pre-petition wages.

       24.     Section 105 of the Bankruptcy Code allows the Court to authorize payments on

account of certain pre-petition claims when necessary and essential to the continued operation of

the debtor. 11 U.S.C. § 105 (2021). This is generally referred to as the “necessity of payment”

doctrine. In re NVR, L.P., 147 B.R. 126, 127 (Bankr. E.D. Va. 1992) (stating under section

105(a), a court “can permit pre-plan payment of a pre-petition obligation when essential to the

continued operation of the debtor”); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.

N.Y. 1989) (stating a bankruptcy court’s use of its equitable powers to “authorize the payment of

pre-petition debt when such payment is needed to facilitate the rehabilitation of the debtor is not

a novel concept”); In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981)

(necessity of payment doctrine “teaches no more than, if payment of a claim which arose prior to

reorganization is essential to the continued operation of the [business] during the reorganization,
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payment may be authorized even if it is made out of corpus”).

       25.     Similar relief to that requested herein has consistently been granted by other

bankruptcy courts pursuant to such doctrine. In re Certified Air Technologies, Inc., 300 B.R. 355

(Bankr. C.D. Cal. 2003); In re ATP Oil & Gas Corp., Case No. 12-36187 (Bankr. S.D. Tex.


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  See also In re Fin’l News Network, Inc., 134 B.R. 732, 736 (Bankr. S.D. N.Y. 1991) (pre-
petition claims may be paid when doing so is “critical to the debtor’s reorganization”); In re
Eagle-Pitcher Indus., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (payment must be
“necessary to avert a serious threat to the Chapter 11 process”); In re Structurlite Plastics Corp.,
86 B.R. 922, 931 (Bankr. S.D. Ohio 1988) (payment necessary to “permit the greatest likelihood
of survival of the debtor and payment of creditors in full or at least proportionately”) (quoting In
re Chateaugay Corp., 80 B.R. 279, 287 (S.D. N.Y. 1987)).


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August 21, 2012); In re Cano Petroleum, Inc., Case No. 12-31549 (Bankr. N.D. Tex. March 16,

2012); In re Dynegy Holdings, LLC, Case No. 11-13686 (Bankr. S.D. N.Y. November 9, 2011);

In re Otero Cnty. Hosp. Ass’n, Inc., Case No. 11-13686 (Bankr. D. N.M. September 12, 2011);

In re Paul Transp., Inc., Case No. 10-13022 (Bankr. W.D. Okla., May 21, 2010); In re Stallion

Oilfield Services, Inc., Case No. 09-13562 (Bankr. D. Del. October 20, 2009); In re Harold’s

Stores, Inc., Case No. 08-15027 (Bankr. W.D. Okla. November 7, 2008); In re Rocor Int’l, Inc.,

Case No. 02-17658 (Bankr. W.D. Okla., August 7, 2002); In re Keast Enterprises, Inc., et al.,

Case No. 18-00856-als11 (Bankr. S.D. Iowa 2021); In re Sivyer Steel Co., Case No. 18-00507-

als11 (Bankr. S.D. Iowa 2020); In re Fansteel, Inc., Case No. 16-01823-als11 (Bankr. S.D. Iowa

2020); In re Fansteel Foundry Co., Case. No. 16-1825-als11 (Bankr. S.D. Iowa 2020); In re

Foods, Inc., d/b/a Dahl’s Foods, Case. No. 14-02689-als11 (Bankr. S.D. Iowa 2018).

       26.     To retain quality, experienced workers, to maintain their morale while this chapter

11 case is pending, and to preserve the Debtor’s operations during its reorganization, the Debtor

should be granted the authority to pay the pre-petition claims of Debtor’s employees in the

ordinary course of the Debtor’s business.

       27.     The Debtor believes that substantially all of the amounts the Debtor seeks to pay

are either entitled to priority claim status under sections 503, 507(a)(4), and 507(a)(5) (with the

exceptions cited herein).     Thus, granting the relief sought herein only would affect the timing of

payment, and not the amount, of these obligations to the Debtor’s employees to the extent they

constitute priority claims.

       28.     Many employees live from paycheck to paycheck and rely exclusively on

receiving their full compensation in order to continue to pay their daily living expenses. Thus,

they will be exposed to significant financial and health-related problems if the Debtor is not




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permitted to pay certain of the unpaid employee obligations, particularly wages, salaries, and

health insurance benefits. Moreover, the Debtor believes that if it is unable to honor its pre-

petition obligations to employees, morale and loyalty will be jeopardized at a time when internal

business support is critical.

        29.     Further, if the Debtor is not authorized to continue to pay its employees’ benefits,

then many of the Debtor’s employees may not be reimbursed nor otherwise have their benefits

claims paid. In addition, certain employees may become primarily obligated for the payment of

these claims in cases where health care providers have not been reimbursed, and may face having

their health services terminated.

        30.     The Debtor believes such uncertainties will cause significant anxiety at precisely

the time the Debtor needs its employees to perform their jobs at peak efficiency.

        31.     The Debtor does not intend by this Motion to assume any executory obligations,

and this Motion should not be deemed an assumption or adoption of any agreements or policies

providing for coverage or any other executory contracts. Rather, the Debtor simply intends in its

discretion and in the exercise of business judgment, subject to this Court’s approval, to maintain

its current policies pending further business decisions relevant to the maximization of the value

of the Debtor’s assets in this case.

        V.      AUTHORITY FOR BANKS TO HONOR CHECKS ISSUED IN PAYMENT
                         OF EMPLOYEE OBLIGATIONS

        32.     The Debtor also requests by this Motion that all applicable banks and other

financial institutions be authorized and directed, when requested by the Debtor and at the

Debtor’s sole discretion, to receive, process, honor, and pay all checks presented for payment

and to honor all funds transfer requests made by the Debtor related to the aforementioned

obligations, whether such checks were presented or funds transfer requests were submitted prior



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to or after the Petition Date, to the extent sufficient funds are available in the accounts to make

such payments. The Debtor represents that these checks are drawn on identifiable payroll and

disbursement accounts. Accordingly, checks other than those for employee obligations will not

be honored inadvertently. No prior request for the relief requested herein has been made to this

or any other Court.

                                      VI. CONCLUSION

       WHEREFORE, the Debtor, Cycle Force Group, L.L.C., requests that this Court enter an

Order (i) authorizing Debtor to make payments of all amounts due on account of employee

obligations that accrued pre-petition; (ii) authorizing Debtor to honor any other terms and

conditions of the employment of its employees; (iii) authorizing Debtor’s banks to honor such

checks and transfers as necessary to effectuate the relief requested herein; and (iv) granting such

other relief as this Court may deem just and equitable under the circumstances.


      Dated: April 22, 2021                    /s/ Krystal R. Mikkilineni
                                               Jeffrey D. Goetz, Esq, AT0002832
                                               Krystal R. Mikkilineni, Esq. AT0011814
                                               Bradshaw Fowler Proctor & Fairgrave, PC
                                               801 Grand, Suite 3700
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                                               Proposed General Reorganization Counsel
                                               for Cycle Force Group, L.L.C.,
                                               Debtor and Debtor in Possession




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                         VERIFICATION BY COUNSEL FOR DEBTOR

          I, Krystal R. Mikkilineni, declare as follows:

          1.     The matters stated in this Declaration are true and correct and within my own

personal knowledge and belief. If called as a witness, I could and would competently testify

hereto.

          2.     I am an attorney licensed to practice law before this court and am the proposed

General Reorganization Counsel for the Debtor. I am duly admitted to practice law in the courts

of the State of Iowa and in the United States District Court for the Southern District of Iowa.

          3.     I have personal knowledge of the facts set forth in the foregoing Motion and, if

called upon as a witness, I could and would competently testify as to all of the matters stated

therein.

          I declare under penalty of perjury under the laws of the State of Iowa and the laws of the

United States, that the foregoing is true and correct and is executed this 22nd day of April, 2021,

at Des Moines, Iowa.

Dated: April 22, 2021                                      /s/ Krystal Mikkilineni
                                                           Krystal R. Mikkilineni




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                       VERIFICATION BY PRESIDENT, NYLE NIMS

       I, Nyle Nims, declare as follows:

       1.      I am the President and CEO of the Debtor, Cycle Force Group, L.L.C. The

matters stated in this Declaration are true and correct and within my own personal knowledge

and belief. If called as a witness, I could and would competently testify hereto.

       2.      I have personal knowledge of the facts set forth in the foregoing Motion and, if

called upon as a witness, I could and would competently testify as to all of the matters stated

therein.

       I declare under penalty of perjury under the laws of the State of Iowa and the laws of the

United States that the foregoing is true and correct and is executed this 22nd day of April, 2021,

at Ames, Iowa.

Dated: April 22, 2021                                /s/ Nyle Nims
                                                     Nyle Nims




                                  CERTIFICATE OF SERVICE

     This document was served electronically on parties who receive electronic notice through
CM/ECF as listed on CM/ECF’s notice of electronic filing.

                                                     /s/     Barbara Warner




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